                            UNITED STATES DISTRICT COURT
                            MIDDLE DISTRICT OF TENNESSEE
                                    AT NASHVILLE


TRACY ANDRIANO,                                     )   Docket No. 3:15-CV-0863
                                                    )
     Plaintiff,                                     )
                                                    )   JUDGE CRENSHAW
v.                                                  )   MAGISTRATE JUDGE HOLMES
                                                    )
TYSON FOODS, INC.,                                  )   JURY DEMAND
TYSON FRESH MEATS, INC.,                            )
a subsidiary of Tyson Foods, Inc.                   )
                                                    )
     Defendants.                                    )




PLAINTIFF’S MEMORANDUM OF LAW IN SUPPORT OF HER FIRST MOTION IN
LIMINE TO EXCLUDE OPINION TESTIMONY REGARDING MISSING EVIDENCE
         AND FOR AN ADVERSE INFERENCE JURY INSTRUCTION


        COMES now Plaintiff, by and through counsel, pursuant to Fed. R. Civ. P. 16.01(b)6,

and HEREBY moves in limine to bar the introduction of any witnesses’ opinion testimony

regarding the subject matter video surveillance related to Plaintiff and for an adverse influence

and spoliation of evidence jury instruction regarding missing evidence of video surveillance

related to Plaintiff. In support thereof, Plaintiff states as follows:

                                      I.    BACKGROUND

        Plaintiff sent Defendant its First Set of Interrogatories and Requests for Production of

Documents on November 5, 2015, to which Defendant provided responses on January 26, 2016.

In her Requests, Plaintiff requested certain pertinent documents from Defendant regarding

video surveillance related to Plaintiff, specifically: No 20: “Please produce any and all


                                      1
     Case 3:15-cv-00863 Document 53 Filed 07/19/17 Page 1 of 5 PageID #: 776
photographs, negatives, recordings and/or videotapes of Plaintiff.;” No 21:” any and all

photographs, negatives, recordings and/or videotapes of activity in or around the window to the

nurses’ office while Plaintiff was on duty;” and No. 22. “any and all photographs, negatives,

recordings and/or videotapes of Driton Gashi in or around the window to the nurses’ office.”

(Exhibit A.)

       Defendant did not produce the documents, but instead responded with the following:

regarding No. 20, “Defendant is still investigating this matter and reserve the right to

supplement this response as additional information becomes known.” Regarding No. 21:

“Defendants object to this request on the grounds that the information requested is overly broad,

unduly burdensome, and not reasonably calculated to lead to the discovery of admissible

evidence. Without waiving their objections, Defendants state they are still investigating this

matter and reserve the right to supplement this response as additional information becomes

known.” Finally, regarding No. 23, “Defendants object to this request on the grounds that the

information requested is overly broad, unduly burdensome, and not reasonably calculated to

lead to the discovery of admissible evidence. Without waiving their objections, Defendant

states it is still investigating this matter and reserve the right to supplement this response

as additional information becomes known.” (Exhibit B.)

       In a letter dated June 8, 2016, counsel for Defendant reported that Defendant was

“unable to locate any materials responsive to these requests which relate to the parties’ claims

of defenses.” Defendant provided no further explanation regarding the missing materials.

(Exhibit C.) At the time of the filing of this Motion, Defendant’s counsel has not produced the

requested electronic documentation.




                                   2
  Case 3:15-cv-00863 Document 53 Filed 07/19/17 Page 2 of 5 PageID #: 777
                                 II.   LEGAL ARGUMENT

        Defendant’s witnesses should not be allowed to offer their opinion where they lack a

foundation in personal knowledge. Witnesses should also not be allowed to offer hearsay

evidence.

A.      WITNESSES MAY NOT GIVE OPINION TESTIMONY REGARDING THE
        CONTENTS OF THE VIDEO SURVEILLANCE.

        Any witnesses’ opinion testimony regarding the subject matter video surveillance related

to Plaintiff should be barred as inadmissible pursuant to Rule 701 of the Federal Rules of Civil

Procedure. Rule 701 provides:

        If the witness is not testifying as an expert, the witness’ testimony in the form
        of opinions or inferences is limited to those opinions or inferences which are (a)
        rationally based on the perception of the witness, (b) helpful to a clear
        understanding of the witness’ testimony or the determination of a fact issue, and
        (c) not based on scientific, technical, or other specialized knowledge within the
        scope of Rule 702.

Fed. R. Evid. 701.    It is hornbook law that lay persons cannot offer speculative opinions as

evidence. Id.

        Instead, lay witnesses must possess “first-hand, personal knowledge.” JGR, Inc. v.

Thomasville Furniture Indust., Inc., 370 F.3d 519, 526 (6th Cir. 2004); see also Fossyl v.

Milligan, 317 F. App'x 467, 472 (6th Cir. 2009) (lay testimony not based on perception is

inadmissible). A party’s mere “belief” or speculation is not based on personal knowledge and is

not competent evidence. E.g., Riley v. Univ. of Alabama Health Services Foundation, P.C.,

2014 WL 66471, at *4 (N.D. Ala. Jan. 8, 2014) (citing Gen. Longshore v. Pate Stevedore, 41

F.3d 668 (11th Cir. 1994) (“Belief, no matter how sincere, is not equivalent to knowledge”);

Fed. R. Evid. 602 (“A witness may testify to a matter only if evidence is introduced sufficient

to support a finding that the witness has personal knowledge of the matter.”).



                                      3
     Case 3:15-cv-00863 Document 53 Filed 07/19/17 Page 3 of 5 PageID #: 778
       Here, any witnesses’ opinion testimony regarding the subject matter video surveillance

related to Plaintiff employees is inadmissible under Federal Rules of Evidence 602, 701, and

801(c). Accordingly, the Court should limit witnesses’ testimony only to those subjects of which

they have the requisite personal knowledge.

                                   III.    CONCLUSION

       Witnesses’ opinion testimony regarding the subject matter video surveillance related to

Plaintiff employees is inadmissible under Federal Rules of Evidence 602, 701, and 801(c).

Accordingly, the Court should limit witnesses’ testimony only to those subjects of which they

have the requisite personal knowledge. Plaintiff moves this Honorable Court to bar the

introduction of any witnesses’ opinion testimony regarding the subject matter video surveillance

related to Plaintiff and for an adverse influence and spoliation of evidence jury instruction

regarding missing evidence of video surveillance related to Plaintiff



                                                    Respectfully submitted,

                                                    Parker & Associates

                                                    /s/ R. Patrick Parker
                                                    R. Patrick Parker, BPR # 16847
                                                    1517 Hunt Club Boulevard
                                                    Gallatin, TN 37075
                                                    Telephone: (615) 724-5291
                                                    Facsimile: (615) 590-4211
                                                    pparker@pparkerlaw.com




                                    4
   Case 3:15-cv-00863 Document 53 Filed 07/19/17 Page 4 of 5 PageID #: 779
                                CERTIFICATE OF SERVICE

        I hereby certify that I have this day served, via the Middle District ECF filing system, a
true and correct copy of the foregoing pleading upon counsel for the parties, as follows:


Kenneth A. Weber, BPR No. 015730
Megan M. Sutton, BPR No. 029419
Baker Donelson Center
211 Commerce Street, Suite 800
Nashville, Tennessee 37201
Telephone: (615) 726-5760
Facsimile: (615) 744-5760
Email: kweber@bakerdonelson.com
Email: msutton@bakerdonelson.com

Attorneys for Defendants



                                                            /s/ R. Patrick Parker
                                                            Robert Patrick Parker




                                     5
    Case 3:15-cv-00863 Document 53 Filed 07/19/17 Page 5 of 5 PageID #: 780
